           Case 1:19-cv-03243-SMJ                  ECF No. 24        filed 09/21/20        PageID.1111 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_
                                                                                                                    FILED IN THE
                                                     Eastern District of Washington                             U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT OF WASHINGTON

                    ZACHARY PETER F.,

                                                                     )
                                                                                                              Sep 21, 2020
                                                                                                               SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:19-cv-03243-SMJ
                                                                     )
                   ANDREW SAUL,                                      )
              Commissioner of Social Security,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff Zachary Peter F.’s Motion for Summary Judgment, ECF No. 11, is DENIED.
u
              The Commissioner’s Motion for Summary Judgment, ECF No. 21, is GRANTED.
              Judgment entered for the Defendant.



This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                         SALVADOR MENDOZA JR.                                on a motion for
      summary judgment.


Date: 9/21/2020                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Tonia Ramirez
                                                                                           %\ Deputy Clerk

                                                                            Tonia Ramirez
